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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

       Civil Action No. 1:20-cv-02765-RMR-MEH

       XINGFEI LUO,

                    Plaintiff,

       v.

       PAUL WANG,

                    Defendant.



                                 MOTION TO WITHDRAW AS COUNSEL


            Pursuant to D.C.COLO.LAttyR 5(b) and Rule 1.16 of the Colorado Rules of Professional

   Conduct, Clarissa M. Collier, Esq., David J. Schaller, Esq., and the firm of Wheeler Trigg

   O’Donnell LLP (collectively, “Counsel”) hereby submit this Motion to Withdraw as Counsel for

   Plaintiff Xingfei Luo. In support of this Motion, Counsel states as follows:1

            1.     D.C.COLO.LAttyR 5(b) permits an attorney to withdraw, with approval of the

   Court, upon a showing of good cause.

            2.     Good cause exists for Counsel to withdraw from representation of Plaintiff based

   on Rule 1.16(1) and (7) of the Colorado Rules of Professional Conduct. See D.C.COLO.LAttyR

   5(b) (“A motion to withdraw must state the reasons for withdrawal, unless the statement would

   violate the rules of professional conduct.”



   1
          Pursuant to D.C.COLO.LCivR 7.1(b)(4), a certificate of conferral is not necessary for
   this Motion.
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          3.        In accordance with D.C.COLO.LAttyR 5(b), Counsel has served a Notice of

   Withdrawal “on all counsel of record, any unrepresented party, and” Plaintiff. See Notice of

   Withdrawal, attached hereto as Exhibit 1.

          4.        Plaintiff has been notified that she is “personally responsible for complying with

   all court orders and time limitations established by applicable statutes and rules.” Id.

          5.        Plaintiff has also been notified that she has the burden of keeping the Court and

   the other parties informed where later notices, pleadings, and other papers may be served; that

   she has the obligation to prepare for trial or have other counsel prepare for trial; that failure or

   refusal to meet these burdens may subject her to legal consequences such as dismissal or default;

   and that the dates of any proceedings including trial and holding of such proceedings will not be

   affected by this withdrawal.

          6.        This Motion is not made for purposes of delay and the relief requested is sought

   in good faith.

          WHEREFORE, Counsel respectfully request the Court grant this Motion and enter an

   Order allowing them to withdraw as counsel for Plaintiff.

   Dated: July 7, 2022.                             Respectfully submitted,



                                                    s/ Clarissa M. Collier
                                                    David J. Schaller
                                                    Clarissa M. Collier
                                                    Wheeler Trigg O’Donnell LLP
                                                    370 Seventeenth Street, Suite 4500
                                                    Denver, CO 80202
                                                    Telephone: 303.244.1800
                                                    Facsimile: 303.244.1879
                                                    Email: schaller@wtotrial.com
                                                             collier@wtotrial.com


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                                      Attorneys for Plaintiff,




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                           CERTIFICATE OF SERVICE (CM/ECF)

           I HEREBY CERTIFY that on July 7, 2022, I electronically filed the foregoing MOTION
   TO WITHDRAW AS COUNSEL with the Clerk of Court using the CM/ECF system which
   will send notification of such filing to the following email addresses:

               Xingfei Luo
                Courtproceeding9@gmail.com

               Katayoun A. Donnelly
                katy@kdonnellylaw.com

               Eugene Volokh
                volokh@law.ucla.edu



                                            s/ Catherine Lacey
